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  SO ORDERED.

  SIGNED this 9 day of July, 2018.




                                                                 ____________________________________
                                                                 David M. Warren
                                                                 United States Bankruptcy Judge

  ______________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION

  IN RE:

  SUNCOAST EQUIPMENT, LLC                                   CASE NO.: 16-02247-5-DMW
                                                            CHAPTER 7
                       Debtor


     EX PARTE CONSENT ORDER AUTHORIZING TRUSTEE TO CHARGE AND
     COLLECT §506(c) STATUTORY TRUSTEE'S COMMISSIONS AND EXPENSE;
   ATTORNEY FOR TRUSTEE'S FEES AND EXPENSE; TRUSTEE'S ACCOUNTANT'S
      FEES; AND SPECIAL COUNSEL FEES AND COSTS FOR LIQUIDATION OF
      PROPERTY SUBJECT TO BLANKET LIEN OF PARAGON COMMERCIAL

            THIS MATTER having come before the Court upon Ex Parte Motion of Richard DeWitte

  Sparkman, Chapter 7 Trustee for allowance of Section 506(c) statutory Trustee's commissions and

  expense; Attorney for Trustee's fees and expense; Auctioneer's commissions and extraordinary

  expense, if any; Special Counsel to Bankruptcy Trustee fees and expense; Accountant for Trustee

  fees and expense; and Court costs, if any, from collection of proceeds from liquidation of estate

  assets and collection of monies into the bankruptcy estate, and it appearing:

        1.      That the above-referenced Debtor filed Chapter 7 petition on April 28, 2016. Richard

 DeWitte Sparkman was appointed as Bankruptcy Trustee on April 29, 2016 in which capacity he files

 Motion.

       2.        That Paragon Commercial Bank, a division of Towne Bank ("Paragon"), a secured

 creditor in the above-referenced case filed a secured claim no. 4-1 dated June 1, 2016 in the amount

 of $200,000.00, which lien would cover all properties being liquidated and monies being collected
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 by the Bankruptcy Trustee. ("Paragon Blanket Lien")

        3.    That notwithstanding existence of the Paragon Blanket Lien, the Trustee has requested

 and Paragon has consented to the liquidation of estate assets and the collection of these monies into

 the bankruptcy estate with the Trustee being authorized to charge and collect his statutory Trustee's

 commissions and allowed expenses; to seek Court approval at the appropriate time for payment of

 Section 506(c) Attorney for Trustee's fees and expense; Auctioneer commissions and extraordinary

 expense, if any; Special Counsel to Bankruptcy Trustee fees and expense; Accountant for Trustee fees

 and expense; and Court costs, if any; with same to be paid from proceeds subject to the Paragon

 Blanket Lien and the balance of the monies, if any, to be remitted to Paragon pursuant to its timely
 filed and valid secured proof of claim upon closing of the bankruptcy estate.

        IT IS HEREBY ORDERED that Richard DeWitte Sparkman, Chapter 7 Trustee, be, and he

 is hereby authorized to continue to liquidate assets and to collect funds that are subject to the Paragon

 Blanket Lien, charge statutory Trustee's commissions and allowed expenses; seek Court approval at

 the appropriate time for payment of Section 506(c) Attorney for Trustee's fees and expense;

 Auctioneer's commissions and extraordinary expense, if any; Special Counsel to Bankruptcy Trustee

 fees and expense; Accountant for Trustee fees and expense; Court costs, if any, with the balance of

 the monies, if any, to be remitted to Paragon pursuant to its timely filed and valid secured proof of

 claim no. 4-1 upon closing of the bankruptcy estate.



 CONSENTED TO:

   /s/ Richard DeWitte Sparkman                          /s/Matthew P. Ceradini
 Richard DeWitte Sparkman                               Matthew P. Ceradini, Attorney for
 Attorney for Bankruptcy Trustee                        Paragon Commercial Bank,
 N.C. State Bar No. 6857                                a Division of Towne Bank
 P.O. Box 1687                                          NC State Bar No. 49521
 Angier, NC 27501                                       9650 Strickland Road, Ste. 103-202
 Telephone: (919) 639-6181                              Raleigh, NC 27615
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